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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

 

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ANDREA J. NUSSINOW, Docket No.: 1:19-cev-332
(FJS/CFH)
Plaintiff,
-against- NOTICE TO TAKE

DEPOSITION UPON ORAL
COUNTY OF COLUMBIA, RONALD PEREZ, as EXAMINATION
President of the Columbia-Greene Humane Society, nc.
and in his individual capacity, LEE DELISLE, as Chief
Investigator for the Columbia-Greene Humane Society,
Inc. and in his individual capacity, and COLUMBIA-
GREENE HUMANE SOCIETY, INC., doing business as
the Columbia-Greene Humane Society/SPCA
Defendants.
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PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of Civil
Procedure, oral examination of plaintiff will be taken before a Notary Public who is not an
attorney, or employee of an attorney, for any party or prospective party herein and is not a
person who would be disqualified to act as a juror because of interest or because of
consanguinity or affinity to any party herein, at the offices of MIRANDA SLONE SKLARIN
VERVENIOTIS LLP, located at 570 Taxter Road, Suite 561, Elmsford, New York, on the
2ND day of September, 2019, at 10:00 o'clock in the forenoon of that day with respect to
evidence material and necessary in the prosecution-defense of this action:

That the said person to be examined are required to produce at such examination
the following: allbooks, records, documents and papers relating to the facts and

circumstances herein, and relevant to said action and the issues therein.
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Dated: Elmsford, New York

TO:

May 20, 2019

Yours, etc.,

MIRANDA SLONE SKLARIN VERVENIOTIS
LLP

 

By:
Richard S/Sklarin (RSS-1017)

Attorneys for Defendants

RONALD PEREZ, as President of the
Columbia-Greene Humane Society, Inc. and
in his individual capacity, LEE DELISLE, as
Chief Investigator for the Columbia-Greene
Humane Society, Inc. and in his individual
capacity, and COLUMBIA-GREENE
HUMANE SOCIETY, INC., doing business as
the Columbia-Greene Humane
Society/SPCA

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Our File No.: 18-103W

 

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